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                                                                Wednesday, 17 July, 2019 12:56:20 PM
                                                                       Clerk, U.S. District Court, ILCD

                       UNITED STATES DISTRICT COURT
                    FOR THE CENTRAL DISTRICT OF LLINOIS
                             URBANA DIVISION

 Onesha Willingham,                                  )
                                                     )
                                  Plaintiff,         )
                                                     )
       v.                                            )          No.
                                                     )
Macon County Sheriff’s Department, Macon County, )
Antonio Brown in his official capacity as Sheriff of )
Macon County, and Unknown Macon County Sheriff )
Deputies,                                            )
                                                     )
                                  Defendants.        )


                                 COMPLAINT AT LAW

       Plaintiff ONESHA WILLINGHAM, by and through her attorneys, complaining of

Defendants Macon County Sheriff’s Department, Macon County, Antonio Brown in his

official capacity as Sheriff of Macon County, and Unknown Macon County Sheriff

Deputies, and states the following:

                                    INTRODUCTION

1.     On March 22, 2019, Plaintiff was travelling with three passengers to attend a

court hearing. While travelling, members of the Macon County Sheriff’s Department

effected a traffic stop on the vehicle Plaintiff was driving.

2.     These currently unknown law enforcement officers then proceeded to

unreasonably detain Plaintiff and the other three passengers for approximately a one-

hour period while the deputies illegally searched the occupants of the vehicle and their

belongings. These deputies further proceeded to unreasonably prolong the traffic stop in

order to have a dog arrive on scene to conduct an exterior sniff of the vehicle.
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3.     In doing so, these currently unknown members of the Macon County Sheriff’s

Department violated Plaintiff’s constitutional rights against unreasonable searches and

seizures.

                            JURSDICTION AND VENUE

4.     This action arises under the Constitution of the United States, particularly the

Fourth and Fourteenth Amendments to the Constitution of the United States, under the

laws of the United States, particularly the Civil Rights Act, Title 42 of the United States

Code, Sections 1983 and 1988, and under the laws of the State of Illinois.

5.     The jurisdiction of this Court is invoked under the provisions of Title 28 of the

United States Code, Sections 1331 and 1343. Plaintiff also invokes the supplemental

jurisdiction of this Court pursuant to Title 28 of the United States Code, Section 1367.

6.     Venue is proper in the United States District Court for the Central District of

Illinois, Urbana division, under Title 28 of the United States Code, Section 1391(b)(2),

as the events complained of occurred within this district.

                                        PARTIES

7.     At all times relevant herein, Plaintiff ONESHA WILLINGHAM was a resident of

the State of Illinois.

8.     Defendants Unknown Macon County Sheriff Deputies were employed by the

Macon County Sheriff’s Department. These currently unknown defendants were acting

within the scope of their employment with the Macon County Sheriff’s Department and

acted under color of law during the relevant time.

9.     Defendant MACON COUNTY SHERIFF’S DEPARTMENT was, during the

relevant time, the employer of Defendants Unknown Macon County Sheriff Deputies.



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Defendant MACON COUNTY SHERIFF’S DEPARTMENT is named as a party pursuant

to the legal theory of Respondeat Superior.

10.    Defendant ANTONIO BROWN IN HIS OFFICIAL CAPACITY AS SHERIFF OF

MACON COUNTY. Defendant Brown is the current Sheriff of Macon County and sued in

his official capacity. The Sheriff of Macon County is responsible for the policies,

procedures, practices, and customs of the Macon County Sheriff’s Department. The

Sheriff of Macon County is also responsible for the training of deputies employed by the

Macon County Sheriff’s Department.

11.    Defendant MACON COUNTY is a municipal corporation organized, existing, and

doing business under the laws of the State of Illinois. MACON COUNTY is named as a

party pursuant to the indemnification requirements of 745 ILCS 10/9-102.

                                          FACTS

12.    On March 22, 2019, Plaintiff was driving a vehicle with three other individuals.

These individuals were travelling to a court date of Plaintiff’s boyfriend.

13.    The vehicle was owned by Plaintiff.

14.    Defendants Unknown Macon County Sheriff Deputies effected a traffic stop on

the vehicle in which Plaintiff was driving, allegedly for improperly travelling in the left

lane of the highway.

15.    Numerous other vehicles had been travelling in the left lane of the highway; the

traffic stop of Plaintiff’s vehicle, upon information and belief, conducted because

Plaintiff and the three other passengers are African-American.

16.    During the traffic stop, Defendants Unknown Macon County Sheriff Deputies

continuously questioned Plaintiff about her reasons for travelling. The Unknown

Deputies also interrogated her as to whether narcotics were in the vehicle.

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17.    Despite the reason for the traffic stop being completed, Defendants Unknown

Macon County Sheriff Deputies proceeded to detain Plaintiff and the other three

passengers in order to permit a drug-sniffing dog to arrive on scene.

18.    Upon information and belief, Defendants Unknown Macon County Sheriff

Deputies falsely claimed that the drug-sniffing dog had detected narcotics in Plaintiff’s

vehicle.

19.    No narcotics were in Plaintiff’s vehicle.

20.    Defendants Unknown Macon County Sheriff Deputies then searched Plaintiff’s

vehicle based on the false assertion that the drug-sniffing dog had detected narcotics;

these law enforcement officers found no narcotics in Plaintiff’s vehicle.

21.    Nonetheless, these law enforcement officers then searched Plaintiff’s belongings

and the belongings of the other passengers.

22.    Elesha Jackson had a large sum of money in her purse. This money had been

previously taken from her retirement account. She intended to use this money in order

to secure the bond of her son, Plaintiff’s boyfriend.

23.    The law enforcement officers then demanded Elesha Jackson prove that the

money was drawn from her retirement account. She was forced by these officers to do

exactly that.

24.    Plaintiff also had money in her possession; approximately $3,000 from her tax

return. Unfortunately, Plaintiff did not have documentation to prove that her money

was from a tax return so Defendants Unknown Macon County Sheriff Deputies took the

money and claimed it was from narcotics sales and, as such, subject to forfeiture.

25.    Defendants Unknown Macon County Sheriff Deputies had no basis to believe that

Plaintiff’s money was from narcotics sales.

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26.    Eventually, Plaintiff and the other passengers were able to leave the scene of the

traffic stop. The traffic stop had lasted approximately one hour; far beyond the time that

was necessary to resolve the alleged traffic violation.

                    COUNT I – FEDERAL CLAIM
             42 U.S.C. § 1983 UNREASONABLE SEIZURE
      DEFENDANTS UNKNOWN MACON COUNTY SHERIFF DEPUTIES

27.    Each paragraph of this Complaint is incorporated as if restated fully herein.

28.    The actions of Defendants Unknown Macon County Sheriff Deputies in

unreasonably prolonging the traffic stop violated Plaintiff’s rights under the Fourth

Amendment to the United States Constitution, and 42 U.S.C. Section 1983.

29.    The actions of Defendants Unknown Macon County Sheriff Deputies in taking

Plaintiff’s money without lawful basis violated Plaintiff’s rights under the Fourth

Amendment to the United States Constitution, and 42 U.S.C. Section 1983.

30.    As a result of the unreasonable detention, Plaintiff suffered damages.

WHEREFORE, Plaintiff prays for judgment against Defendants Unknown Macon

County Sheriff Deputies, and an award of compensatory damages, punitive damages,

attorneys’ fees, costs, the return of her unlawfully seized money, and for any additional

relief that is just and proper.

                     COUNT II – FEDERAL CLAIM
              42 U.S.C. § 1983 UNREASONABLE SEARCH
      DEFENDANTS UNKNOWN MACON COUNTY SHERIFF DEPUTIES

31.    Each paragraph of this Complaint is incorporated as if restated fully herein.

32.    Defendants Unknown Macon County Sheriff Deputies conducted a search of

Plaintiff’s belongings and her vehicle absent reasonable suspicion or probable cause.




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33.     The actions of Defendants Unknown Macon County Sheriff Deputies constituted

an unreasonable search, violating Plaintiff’s rights under the Fourth Amendment to the

United States Constitution, and 42 U.S.C., Section 1983.

34.     As a result of the unreasonable search, Plaintiff suffered injuries.

WHEREFORE, Plaintiff prays for judgment against Defendants Unknown Macon

County Sheriff Deputies, and an award of compensatory damages, punitive damages,

attorneys’ fees, costs, and for any additional relief that is just and proper.

                    COUNT III – FEDERAL CLAIM
                 42 U.S.S. § 1985 CIVIL CONSPIRACY
       DEFENDANTS UNKNOWN MACON COUNTY SHERIFF DEPUTIES

35.     Each paragraph of this Complaint is incorporated as if restated fully herein.

36.     During the unreasonable detainment of Plaintiff, Defendants Unknown Macon

County Sheriff Deputies agreed to falsely assert that a drug-sniffing dog had alerted to

the presence of narcotics in Willingham’s vehicle. This was done in order to permit these

law enforcement officers to search Willingham’s vehicle and the personal belongings of

the passengers of the vehicle, including Plaintiff.

37.     As a result of the civil conspiracy, Plaintiff suffered injuries.

WHEREFORE, Plaintiff prays for judgment against Defendants Unknown Macon

County Sheriff Deputies, and an award of compensatory damages, punitive damages,

attorneys’ fees, costs, and for any additional relief that is just and proper.

           COUNT IV – CLAIM UNDER ILLINOIS LAW
                  FALSE IMPRISONMENT
  DEFENDANTS UNKNOWN MACON COUNTY SHERIFF DEPUTIES AND
      DEFENDANT MACON COUNTY SHERIFF’S DEPARTMENT

38.     Each of the foregoing paragraphs of his Complaint is incorporated as if restated

      fully herein.


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39.     The unreasonable detainment of Plaintiff was done without probable cause. As

      such, it constituted a false imprisonment under Illinois law.

40.     As the employer of Defendants Unknown Macon County Sheriff Deputies – who

      acted within the scope of their employment during the relevant time – Defendant

      Macon County Sheriff’s Department is liable under the theory of Respondeat

      Superior.

41.     As a result of the false imprisonment, Plaintiff suffered injuries.

WHEREFORE, Plaintiff prays for judgment against Defendants Unknown Macon

County Sheriff Deputies and Defendant Macon County Sheriff’s Department, and an

award of compensatory damages, punitive damages, attorneys’ fees, costs, and for any

additional relief that is just and proper.

                COUNT V – FEDERAL CLAIM
                     MONELL CLAIM
DEFENDANT ANTONIO BROWN IN HIS OFFICIAL CAPACITY AS SHERIFF
                    OF MACON COUNTY

42.     Each of the foregoing paragraphs of this Complaint is incorporated as if restated

fully herein.

43.     Defendant Antonio Brown is sued in his official capacity as the Sheriff of Macon

County. The Sheriff of Macon County is responsible for the policies, practices, and

customs of the Macon County Sheriff’s Department.

44.     During the relevant time, the Macon County Sheriff’s Department had in place a

policy, practice, or custom of discriminating against minorities during traffic stops. This

discrimination manifested itself through the Macon County Sheriff’s Department’s

policy, practice, or custom of utilizing drug-sniffing dogs in a disproportional amount of

traffic stops involving minority drivers compared to traffic stops involving white drivers.


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45.    From January 2015 through December 2017, the Macon County Sheriff’s

Department effected a total of 13,967 traffic stops: 10,598 stops involving white drivers

(76%) and 3,369 stops involving minority drivers (24%). Minority drivers make up only

an estimated 17.82% of the total driving population.

46.    Of those 13,967 traffic stops, drug-sniffing dogs were requested by the Macon

County Sheriff Deputy involved in the traffic stop a total of 257 times.

47.    A drug-sniffing dog was requested for white drivers a total of 95 times while the

Macon County Sheriff Deputies requested drug-sniffing dogs for traffic stops involving

minority drivers 162 times. Despite accounting for only 24% of the total traffic stops,

minority drivers were subjected to 63% of the drug-sniffing dog requests by the Macon

County Sheriff Department.

48.    Calculated out, the Macon County Sheriff Deputies requested drug-sniffing dogs

for .9% of the traffic stops for white drivers yet requested drug-sniffing dogs for

approximately 5% of all traffic stops involving minority drivers.

49.    This type of racial profiling – disproportionally employing drug-sniffing dogs

during traffic stops involving minorities – is a violation of the Equal Protection Clause of

the Fourteenth Amendment. Specifically, the policy, practice, or custom by the Macon

County Sheriff’s Department singles out minorities based solely on their race.

50.    Based on sheer numbers alone, this custom of the Macon County Sheriff’s

Department in disproportionally utilizing drug-sniffing dogs during traffic stops

involving minorities was so widespread as to constitute the de facto policy of the Macon

County Sheriff’s Department.

51.    This policy, practice, or custom was the moving force behind Plaintiff’s

constitutional violation in that Plaintiff’s traffic stop was unreasonably prolonged by the

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Unknown Macon County Sheriff Deputies in order to have a drug-sniffing dog

transported to the scene of the traffic stop.

52.    As a direct and proximate result of the policy, practice, or custom of the Macon

County Sheriff’s Department – and by Defendant Antonio Brown in his official capacity

– Plaintiff suffered damages.

WHEREFORE, Plaintiff prays for judgment against Defendant Antonio Brown in his

Official Capacity as Sheriff of Macon County, and an award of compensatory damages,

punitive damages, attorneys’ fees, costs, and for any additional relief that is just and

proper.

                   COUNT VI – CLAIM UNDER ILLINOIS LAW
                             INDEMNIFICATION
                       DEFENDANT MACON COUNTY

53.    Each of the foregoing paragraphs of this Complaint is incorporated as if restated

fully herein.

54.    During the relevant time, Defendants Unknown Macon County Sheriff Deputies

were employees of Defendant Macon County Sheriff’s Department and acted within the

scope of their employment with Defendant Macon County Sheriff’s Department. During

the relevant time, Defendant Antonio Brown was acting in his official capacity as Sheriff

of Macon County.

55.    Pursuant to 745 ILCS 10/9-102, Defendant Macon County is required to

indemnify the Macon County Sheriff’s Department for any judgment against a sheriff or

sheriff’s deputy for acts of omissions done within the scope of their employment and is

required to indemnify any employee for any judgment for acts or omissions done within

the scope of their employment.



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WHEREFORE, Plaintiff prays for judgment against Defendant Macon County and that

Defendant Macon County be required to indemnify Defendants Unknown Macon

County Sheriff Deputies, Macon County Sheriff’s Department, and Antonio Brown in his

Official Capacity as Sheriff of Macon County for any award of compensatory damages

and attorney’s fees.

                                     JURY DEMAND

Plaintiff demands a jury trial on all issues so triable.



                                                   Respectfully submitted,

                                                   By: /s/ Shawn W. Barnett
                                                   Shawn W. Barnett, Atty. No. 6312312
                                                   One of the Attorneys for Plaintiff

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